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     Feras Antoon
  12
                          UNITED STATES DISTRICT COURT
  13
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
  14

  15
       SERENA FLEITES,
                                                    Case No. 21-cv-04920-CJC-ADS
  16
                  Plaintiff,
            v.                                      Discovery Document: Referred to
                                                    Magistrate Judge Autumn D.
  17   MINDGEEK S.A.R.L., a foreign entity;         Spaeth
  18
       MG FREESITES, LTD., a foreign entity;
       MINDGEEK USA INCORPORATED, a                 DECLARATION OF JASON
       Delaware corporation; MG PREMIUM             BROWN IN SUPPORT OF
  19   LTD, a foreign entity; MG GLOBAL             DEFENDANT FERAS ANTOON’S
       ENTERTAINMENT INC., a Delaware               OPPOSITION TO PLAINTIFF’S
  20   corporation, 9219-1568 Quebec, Inc.          MOTION TO COMPEL
       (d/b/a MindGeek), a foreign entity;          RESPONSES TO PLAINTIFF’S
  21   BERND BERGMAIR, a foreign                    FIRST REQUEST FOR
       individual; FERAS ANTOON, a foreign          PRODUCTION OF DOCUMENTS
  22   individual; DAVID TASSILLO, a foreign        AND INTERROGATORIES
  23
       individual; COREY URMAN, a foreign
       individual; VISA INC., a Delaware            Date: March 1, 2023
       corporation; COLBECK CAPITAL                 Time: 10:00 a.m.
  24   DOES 1-5; and BERGMAIR DOES 1-5,             Courtroom: 6B
                                                    Magistrate Judge: Hon. Autumn D.
  25              Defendants.                       Spaeth
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  28             DECLARATION OF JASON BROWN IN SUPPORT OF
             DEFENDANT FERAS ANTOON’S OPPOSITION TO PLAINTIFF’S
              MOTION TO COMPEL RESPONSES TO PLAINTIFF’S FIRST
                 REQUEST FOR PRODUCTION OF DOCUMENTS AND
                             INTERROGATORIES
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   1   I, Jason Brown, declare:
   2         1.    I am an attorney licensed to practice in the State of New York and a
   3   partner at the law firm Cohen & Gresser LLP. I have been granted permission by
   4   this court to appear Pro Hac Vice as counsel for Defendant Feras Antoon in the
   5   above-captioned action. (ECF No. 58.) I am over the age of 18. I make this
   6   declaration in support of Defendant Feras Antoon’s Opposition to Plaintiff’s
   7   Motion to Compel Responses to Plaintiff’s First Request For Production of
   8   Documents and Interrogatories (the “Opposition”). All statements made in this
   9   declaration are true and correct to the best of my knowledge and belief.
  10         2.    Attached hereto as Exhibit A is a true and correct copy of Dkt. No.
  11   167: July 29, 2022 Order Directing the MindGeek Defendants to Submit
  12   Jurisdictional Discovery Until December 30, 2022, Granting Plaintiff Leave to
  13   Amend Her Complaint After Jurisdictional Discovery is Complete, and Denying
  14   MindGeek Defendants’ Motions to Dismiss without Prejudice For Them to Renew
  15   After Plaintiff Has Filed Her Second Amended Complaint.
  16         3.    Attached hereto as Exhibit B is a true and correct copy of Dkt. 211:
  17   November 17, 2022, Minutes Re: Order Granting Plaintiff’s Motion for Issuance of
  18   Letters Rogatory and Denying as Moot Plaintiff’s Motion to Compel and Granting
  19   Defendant Visa’s Motion for Protective Order.
  20         4.    Attached hereto as Exhibit C is a true and correct copy of Dkt. 168:
  21   July 29, 2022 Order Denying Plaintiff’s Request for Issuance of Scheduling Order
  22   and Request to Open Discovery.
  23         5.    Attached hereto as Exhibit D is a true and correct copy of Dkt. 241:
  24   December 16, 2022, Order Extending Jurisdictional Discovery Cutoff.
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                  DECLARATION OF JASON BROWN IN SUPPORT OF
  28          DEFENDANT FERAS ANTOON’S OPPOSITION TO PLAINTIFF’S
               MOTION TO COMPEL RESPONSES TO PLAINTIFF’S FIRST
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   1         6.      Attached hereto as Exhibit E is a true and correct copy of Dkt. 139-1:
   2   Memorandum of Points and Authorities in Support of MindGeek’s Motion to
   3   Dismiss Amended Complaint for Lack of Personal Jurisdiction and Failure to State
   4   Claim.
   5         7.      Attached hereto as Exhibit F is a true and correct copy of Dkt. 187:
   6   Order Granting Stipulated Protective Order for Defendants.
   7         8.      Attached hereto as Exhibit G is a true and correct copy of Dkt. 178:
   8   Hearing Re: Plaintiff’s Motion for Issuance of Requests for International Judicial
   9   Assistance.
  10         9.      Attached hereto as Exhibit H is a true and correct copy of the
  11   December 27, 2022, email chain among counsel for Plaintiff and the Individual
  12   Defendants Re: Plaintiff's Motion to Compel Defendant Bernd Bergmair’s
  13   Responses to Plaintiff's Discovery Requests.
  14         10.     Attached hereto as Exhibit I is a true and correct copy of the January
  15   10, 2023, email chain among counsel for Plaintiff and the Individual Defendants
  16   Re: Fleites - Plaintiff's Motion to Compel Bergmair, Antoon, Tassillo, and Urman.
  17         11.     Attached hereto as Exhibit J is a true and correct copy of Dkt. 233:
  18   Plaintiff’s Memorandum of Points and Authorities in Support of Motion to Compel
  19   Defendant MindGeek Entities’ Responses to Plaintiff’s First Request for
  20   Production of Documents and Interrogatories.
  21         12.     Attached hereto as Exhibit K is a true and correct copy of Dkt 260:
  22   Order Granting in Part and Denying in Part Plaintiff’s Motion to Compel
  23   Responses to Plaintiff’s Requests for Production and Interrogatories.
  24         13.     Attached hereto as Exhibit L is a true and correct copy of Dkt 224-
  25   10: Declaration of Michelle Hart Yeary in Opposition to Motion by Plaintiff to
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                    DECLARATION OF JASON BROWN IN SUPPORT OF
  28            DEFENDANT FERAS ANTOON’S OPPOSITION TO PLAINTIFF’S
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                    REQUEST FOR PRODUCTION OF DOCUMENTS AND
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   1   Compel MindGeek Entity Defendants’ Responses to Interrogatories and Requests
   2   for Production of Documents.
   3           14.   Attached hereto as Exhibit M is a true and correct copy of Dkt 224-6:
   4   September 27, 2022, Letter from Michael Bowe (Plaintiff’s counsel) to Kathleen
   5   Massey (counsel to the MindGeek Entities).
   6           15.   Attached hereto as Exhibit N is a true and correct copy of Dkt 124-3:
   7   Plaintiff’s Amended Complaint.
   8           16.   Attached hereto as Exhibit O is a true and correct copy of Dkt 139-3:
   9   Declaration of Andreas Akliviades Andreou in Support of the MindGeek
  10   Defendants’ Motion to Dismiss.
  11           17.   Attached hereto as Exhibit P is a true and correct copy of the
  12   MindGeek Entities’ Responses and Objections to Plaintiff’s First Set of
  13   Interrogatories Relating to Personal Jurisdiction.
  14           18.   Attached hereto as Exhibit Q is a true and accurate copy of the e-mail
  15   received from David Stein (Plaintiff’s counsel) on January 18, 2023.
  16           19.   Attached hereto as Exhibit R is a true and accurate copy of the e-mail
  17   exchange between John Doyle (Plaintiff’s counsel) and Nathaniel Read (counsel
  18   for Mr. Antoon writing on behalf of all Individual Defendants) on February 2,
  19   2023.
  20           20.   Attached hereto as Exhibit S is a true and accurate copy of the e-mail
  21   from John Doyle (Plaintiff’s counsel) to Nathaniel Read (and other counsel for Mr.
  22   Antoon) on February 1, 2023 (without attachments).
  23           21.   I attended the parties’ December 15, 2022, and January 5, 2023, meet
  24   and confer calls regarding the discovery responses by Mr. Antoon and the other
  25   Individual Defendants. I have reviewed carefully the assertions made in the
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                   DECLARATION OF JASON BROWN IN SUPPORT OF
  28           DEFENDANT FERAS ANTOON’S OPPOSITION TO PLAINTIFF’S
                MOTION TO COMPEL RESPONSES TO PLAINTIFF’S FIRST
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   1   concurrently-filed Notice of Motion and Plaintiffs’ Motion to Compel Defendant
   2   Feras Antoon’s Responses to Plaintiff’s First Request for Production of Documents
   3   and Interrogatories in Defendant’s sections: Defendant’s Preliminary Statement,
   4   Antoon’s Position, and Defendant’s Conclusion, and state that, to the best of my
   5   knowledge and belief, the description of the December 15, 2022, and January 6,
   6   2023 meet and confers therein accurately reflects my recollection of those events.
   7   Consistent with this Court’s L.R. 37-2.1 that “[t]he stipulation may not refer the
   8   Court to any other documents,” the full description of those events is provided in
   9   those sections of the stipulation.
  10         22.    Moreover, I spoke with counsel for defendant David Tassillo
  11   following his conversation with Plaintiff’s counsel David Stein on January 13,
  12   2023. The stipulation reflects my understanding of that conversation.
  13         23.    Defense counsel has informed counsel for Plaintiff of our
  14   understanding that the MindGeek Entity defendants (the “MindGeek Entities”)
  15   collected Mr. Antoon’s mobile data. The MindGeek Entities thus have Mr.
  16   Antoon’s text messages and any messages sent on messaging applications, and
  17   these documents are under review. Moreover, because he resigned in June 2022,
  18   Mr. Antoon no longer has access to the MindGeek Entities’ e-mail system or
  19   corporate records. We understand that the MindGeek Entities are reviewing those
  20   materials (and other sources) for relevant documents. We also understand that the
  21   MindGeek Entities have made a substantial production in response to the same
  22   requests for production made to the Individual Defendants.
  23         24.    However, the MindGeek Entities have not collected Mr. Antoon’s
  24   personal e-mails, and Mr. Antoon has conducted searches of his personal e-mail
  25   for documents relating to Plaintiff and continues to search for documents relating
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                  DECLARATION OF JASON BROWN IN SUPPORT OF
  28          DEFENDANT FERAS ANTOON’S OPPOSITION TO PLAINTIFF’S
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   1   to Mr. Antoon’s direct involvement (if any) in directing or implementing the
   2   purported MindGeek policies that Plaintiff asserts caused her alleged injuries. I
   3   understand that the MindGeek Entities are also conducting searches of Mr.
   4   Antoon’s text and messaging communications (as well as his MindGeek email) for
   5   relevant, non-privileged documents discussing Plaintiff or otherwise relevant to the
   6   inquiry into the degree of Mr. Antoon’s direct involvement (if any) in directing or
   7   implementing the MindGeek policies that purportedly harmed Plaintiff.
   8         25.    I declare under penalty of perjury under the laws of the United States
   9   of America that the foregoing is true and correct.
  10         Executed this 7th day of February, 2023, at New York, New York.
  11                                          /s/ Jason Brown
                                              Jason Brown
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                  DECLARATION OF JASON BROWN IN SUPPORT OF
  28          DEFENDANT FERAS ANTOON’S OPPOSITION TO PLAINTIFF’S
               MOTION TO COMPEL RESPONSES TO PLAINTIFF’S FIRST
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